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                             Mr. Gary J. Stangler
                             Director
                             Department of Social Services
                             P.O. BOX 1527
                             Jefferson City, Missouri 65101

                             Dear Mr. Stangler:

                             Enclosed are two copies of the U.S. Department of Health and Human Services, OffIce of
                             Inspector General, Office of Audit Services’ report entitled, “Review of Pharmacy Acquisition
                             Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program of the Missouri
                             Department of Social Services.” Our review was performed at the request of the Health Care
                             Financing Administration and was conducted as a part of a nationwide review of pharmacy drug
                             acquisition costs. This report provides you with the final results of our review. As pointed out in
                             our draft report, we determined that there is a significant difference between average wholesale
                             price and pharmacy acquisition costs.

                             In our draft report we recommended that the Missouri Department of Social Services consider
                             the results of this review as a factor in any future changes to pharmacy reimbursement for
                             Medicaid drugs. In response to the draft report, the State Agency stated that the report will assist
                             them in their endeavor to optimize access to, and the quality of, health care services. The
                             complete text of the Director’s comments are included in Appendix 4.

                             Once again, our office would like to express how supportive State Agency official Susan
                             McCann was of this project. Our office would like to take this time to thank you for your
                             support in helping us achieve the objectives of this review.

                             If you have any questions, please call me or have your staff contact George M. Reeb, Assistant
                             Inspector General for Health Care Financing Audits, at (41 O) 786-7104. We would-appreciate
                             receiving your final comments within 60 days from the date of this letter.

                             To facilitate identification, please refer to Common Identification Number A-06-95-00067           in all
                             correspondence relating to this report.

                                                                            Sincerely,



                                                                 /Qk+w7M.
                             Enclosure
                                                              u             June Gibbs Brown
                                                                            Inspector General
I       ,
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              Department of Health and Human Services

                         OFFICE OF
                    INSPECTOR GENERAL




            REVIEW OF PHARMACY ACQUISITION  COSTS
                FOR DRUGS REIMBURSED UNDER THE
             MEDICAID PRESCRIPTION DRUG PROGRAM
                            OF THE
            MISSOURI DEPARTMENT OF SOCIAL SERVICES




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                                             SUMMARY

    A     t the request of the Health Care Financing Administration (HCFA), the Office of Inspector
           General (OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
    reimbursed under the Medicaid prescription drug program. Since most States reimburse
    pharmacies for Medicaid prescriptions using a formula which discounts the average wholesale
    price (AWP), the objective of our review was to develop an estimate of the discount below AWP
    at which pharmacies purchase brand name and generic drugs.

    To accomplish our objective, we selected a random sample of 11 States from a universe of 48
    States and the District of Columbia. Arizona was excluded from the universe of States because
    the Medicaid drug program is a demonstration project using prepaid cavitation financing and
    Tennessee was excluded because of a waiver received to implement a statewide managed care
    program for Medicaid. Missouri was one of the sample States, as well as Californi& Delaware,
    District of Columbia, Florida, Maryland, Montana, Nebraska, New Jersey, North Carolina, and
    Virginia.

    Additionally, we selected a sample of Medicaid pharmacy providers from each State and
    obtained invoices of their drug purchases. The pharmacies were selected from each of five
    categories--rural-chain, rural-independent, urban-chain, urban-independent, and non-traditional
    pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
    traditional category so as to be able to exclude those pharmacies from our overall estimates. We
    believed such pharmacies purchase drugs at substantially greater discounts than retail
    pharmacies, and including them would have inflated our percentages.

    We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
    by which the invoice price was discounted below AWP. We then projected those differences to
    the universe of pharmacies in each category for each State and calculated an overall estimate for
    each State. Additionally, we projected the results from each State to estimate the nationwide
    difference between AWP and invoice price for each category.

    In Missouri, we obtained pricing information from 37 pharmacies. Specifically, we obtained
    2,675 invoice prices for brand name drugs, and 1,311 invoice prices for generic drugs. For
    Missouri, the overall estimate of the extent that AWP exceeded invoice prices was 18.5 percent
    for brand name drugs and 46.4 percent for generic drugs. The national estimates are
    18.3 percent and 42.5 percent, respectively. The estimates combine the results for four
    categories of pharmacies including rural-chain, rural-independent, urban-chain, and urban-
    independent and exclude the results obtained from non-traditional pharmacies.




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        We are recommending that the Missouri Department of Social Services (State Agency) consider
        the results of this review as a factor in any future changes to pharmacy reimbursement for
        Medicaid drugs. We will share the information with HCFA from all 11 States in a consolidation
        report for their use in evaluating the overall Medicaid drug program.

        The Director of State Agency responded to our draft report in a letter dated, October 22, 1996.
        The Director stated the report would be of great assistance in their endeavor to optimize access
        to, and the quality of, health care services. The Director was appreciative of being included in
        the planning of this review. The full text of the Director’s comments are included in
        Appendix 4.




          Review of PharmacyAcquisitionCosts for DrugsReimbursedUnderthe MedicaidPrescriptionDrug Program
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     APPENDIX 2- MISSOURI SAMPLE RESULTS

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     APPENDIX 4- STATE AGENCY COMMENTS




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                                    INTRODUCTION
At the request of HCFA, OIG, Office of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
Missouri Department of Social Services (State Agency). The objective of our review was to
develop an estimate of the difference between the actual acquisition costs of drugs and AWP.
This review was conducted as a part of a nationwide review of pharmacy acquisition costs.
Missouri was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medispan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for 15.9
percent below AWP. In 1989, OIG issued a follow-up report which concluded that ph~acies
were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and 1989 reports
combined brand name and generic drugs in calculating the percentage discounts and included a
comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual further provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once again, determine the difference between
AWP and actual pharmacy acquisition cost.


  Review of PharmacyAcquisitionCosts for Drugs ReimbursedUnderthe MedicaidPrescriptionDmg Program
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    The State Agency reported drug expenditures of $241.8 million in Calendar Year (CY) 1994.

    SCOPE

    Our review was performed in accordance with generally accepted government auditing standards.
    The objective of our review was to develop an estimate of the difference between AWP and the
    actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
    providers. Our objective did not require that we identifi or review any internal control systems.

    Our review was limited to ingredient acquisition costs and did not address other areas such as:
    the effect of Medicaid business as a contribution to other store sales; the cost to provide
    professional services other than dispensing a prescription such as therapeutic interventions,
    patient education, and physician consultation; and the cost of dispensing which includes costs for
    computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
    administrative costs, and general overhead. We also did not take into consideration the effect of
    Federal upper limit amounts on generic drug reimbursements or usual and customary charge
    limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
    reimbursements in a subsequent review.

    We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
    Agency was responsible for classifying each pharmacy as chain, independent or non-traditional.
    For purposes of this review, a chain was defined as four or more pharmacies with common
    ownership. We determined whether each pharmacy was rural or urban by comparing the county
    location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
    components. We selected a stratified random sample of 60 pharmacies with 12 pharmacies
    selected from each of 5 strata--urban-chain, rural-chain, urban-independent, rural-independent,
    and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). We
    included the non-traditional category so as to be able to exclude those pharmacies from our
    estimates. We believed that such pharmacies are able to purchase drugs at substantially greater
    discounts than a retail pharmacy and would inilate our estimate.

    We requested, from each pharmacy selected, the largest invoice from each different source of
    supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
    chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
    Each pharmacy was assigned a month from January through September in order to provide a
    cross-section of this 9-month time period. However, we permitted one pharmacy to provide
    invoices from December as invoices were not available from the earlier period.




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    We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
    the invoices contained the information necessary for our review. We eliminated over-the-counter
    items. Some invoices did not include National Drug Codes @iDC), which were needed to obtain
    AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 lZed
    Book, a nationally recognized reference for drug product and pricing information, as a reference
    for drug product and pricing information, as a reference to obtain NDCS or identi~ over-the-
    counter items. One prominent wholesaler, whose invoices contained that wholesaler’s item
    number rather than NDCS, provided us with a listing that converted their item number to an
    NDC. If we were unable to identifi the NDC for a drug, we eliminated the drug. This was a
    common occurrence for generic drugs where there was no indication on the invoice as to the
    manufacturer of the drug.

    We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
    We used that listing to classi@ each drug on the invoices as brand or generic. If a drug was not
    on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
    Additionally, we obtained drug expenditure information from HCFA-64 Reports.

    The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
    each drug. We compared the invoice drug price to AWP for each drug and calculated the
    percentage, if any, by which the invoice price was discounted below AWP. If a drug fi-om an
    invoice was not on the pricing file we eliminated that drug.

    An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
    pharmacy representatives from the sample States. At this meeting, we presented a methodology
    for performing the review and the methodology was refined with input from the State
    representatives. At a follow-up meeting held in Richmond, Virginia, on September 27-28,
    1995, we presented the results of our review with the sample States.

    We used OAS statistical computer software to calculate all estimates as well as to generate all
    random numbers. We did not independently veri~ any information obtained from third party
    sources. Our review was conducted by our Little Rock, Arkansas OAS field office .tith
    assistance from our OAS field offices in Baton Rouge, Louisiana, and Austin, Texas from
    September 1994 to September 1995.




      Review of PharmacyAcquisitionCosts for Drugs ReimbursedUnderthe MedicaidPrescriptionDrug Program
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                                                     FINDmGs AND RECOMMIINDATIONS
BRAND                         NAME                   DRUGS

We estimate that invoice prices for brand name drugs were discounted 18.5 percent below
AWP. The estimate combined all pharmacy categories except for non-traditionalpharmacies
and was based on the comparison to AWP of 2,675 invoice prices received from 37
pharmacies. The standarddeviation for this estimate was 0.27 percent (see Appendix 2).

The estimates that invoice prices for brand                                                        name          drugs         were discounted below AWP are
summarized in the following chart:

                                                                               Estimated                     Diff~r~nc~



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                         ~          ....... .......................................................................................
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           20

           15

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The following chart shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.

                                                                              Num~etr          of                                           Prices            from
                                                            Sample                      Pharmacies                               Samplta                  Pharmacies




                     RuraI-Chain




Rural–lndepondant




                Urban-Chain




Urban            -tndmpend-nt




        Non-l_                raditional




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   Review               of Pharmacy                  Acquisition      Costs for Drugs Reimbursed Under the Medicaid                                       Prescription             Drug Program
                                                                    of the Missouri Department of Social Services
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GENERIC DRUGS

We estimate that invoice prices for generic drugs were discounted 46.4 percent below AWP.
Once again, the estimate combined all pharmacy categories except non-traditional pharmacies,
The estimate was based on the comparisontoAWPof1,311        invoice prices received from 37
pharmacies. The standard deviation for this estimate was 1.30 percent (see Appendix 2).

The estimates that invoice prices for generic drugs were discounted below AWP are
summarized by individual categories in the following chart:


                                                                  Estimated                Difference



        70
                                                                                                                                                 57.3

        60

        50


        40


        30


        20


            10


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                                    Chmln         Independent                                               I“d_Pend_”t                                                [Exal”dlna
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                                                                                                                                                                           No”T)




The following chart shows the number of pharmacies sampled and the number of prices
reviewed by individual category for the generic drugs.

                                                                  Number     of                                                                 Pric=s    from
                                                  Sample              Pharmacies                                                Sampl              - Pharmacies



                                                                                           11                                                          470




                                              E
                                              ~
                      Rural-Chain                                                                                                                                                        . . .       .   .



                                                                                                    e                                   2s6
  Rural-Independent



                                                                                                e                                             329
                     Urban-Chain


                                                                                                9                                       255
  Urban-Independent



                                                                                                        7                          205
            Non-T_         radltlonal


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                                                            37
  Overall               (Exe.       Nonl_)
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                                             50      40             30        20           10                       0     200     400           600          800   100012001400




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                               of the Missouri Department of Social Services
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                      CONCLUSIONS AND RECOMMENDATION
     Based on our review, we have determined that there is a significant difference between AWP and
     pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
     significantly greater for generic drugs than for brand name drugs. In general, State
     representatives believed that the review supported current State practices to establish pharmacy
     reimbursement for ingredient cost at levels below AWP.

     We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
     any change to that policy should also consider the other factors discussed in the Scope section of
     our report. Additionally, the effect of Federal upper limit amounts on generic drug
     reimbursements or usual and customary charge limitations should be taken into consideration.
     However, a change in any of the factors affecting pharmacy reimbursement could have a
     significant impact on expenditures because of the size of the program ($241.8 million) in
     Missouri. We believe that the difference between AWP and pharmacy acquisition costs as
     determined by our review is significant enough to warrant consideration by the State in any
     evaluation of the drug program. Therefore, we recommend that the State Agency consider the
     results of this review in determining any future changes to pharmacy reimbursement for
     Medicaid drugs.

     STATE AGENCY COMMENTS

     The Director of State Agency responded to our drafl report in a letter dated, October 22, 1996.
     The Director stated the report would be of great assistance in their endeavor to optimize access
     to, and the quality of, health care services. The Director was appreciative of being included in
     the planning of this review. The full text of the Director’s comments are included in
     Appendix 4.




       Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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                      APPENDICES
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                                                                                 APPENDIX I
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                                 SAMPLE DESCRIPTION

    Sample Objectives:

          Develop an estimate of the extent that invoice prices are discounted below Average
          Wholesale Prices (AWP) for Medicaid pharmacies in Missouri for brand name drugs
          and for generic drugs.

    Population:

          The sampling population was pharmacy providers participating     in the Medicaid
          prescription drug program of the State Agency.

    Sampling   Frame:

          The sampling frame was a listing of all pharmacy providers participating   in the Medicaid
          prescription drug program.

    Sample Design:

         A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
         of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
         non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). Each
         pharmacy was assigned a month from 1994 for which to provide invoices. All
         pharmacies were initially assigned a month from January through September in a method
         designed to provide a cross-section of the 9-month period. However, one pharmacy was
         permitted to submit invoices from December as invoices were not available for the month
         originally assigned. The largest invoice from each of four different sources of supply was
         requested. The sources of supply were identified as wholesalers, chain warehouse
         distribution centers, generic distributors, and direct manufacturer purchases. All invoice
         prices were compared to AWP.
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        Sample Size:

              Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

        Source of Random Numbers:

              OAS statistical sampling software was used to generate the random numbers.



        Characteristics to be Measured:

              From our review of the pharmacy invoices, we calculated the percentage of the discount
              below AWP of actual invoice prices for all drugs on the invoices submitted.

        Treatment of Missing Sample Items:

             No spare was substituted for a pharmacy that did not provide information. If a pharmacy
             did not send an invoice for a particular type of supplier, we assumed that the pharmacy
             did not purchase drugs fi-om that type of supplier during the month assigned to the
             pharmacy.

        Estimation Methodology:

             We used OAS Statistical Soflware to project the percentage difference betwegn AWP and
             actual invoice prices for each stratum, as well as an overall percentage difference. The
             overall percentage difference excluded the non-traditional pharmacies. The projections
             were done separately for brand name drugs and generics.

        Other Evidence:

              We obtained AWP from First DataBank.
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                                                          APPENDIX 2

                  MISSOURI    SAMPLE    RESULTS
              BRAND   NAME AND GENERIC         DRUGS
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                                                                   APPENDIX 3

                NATIONWIDE           SAMPLE       RESULTS
               BRAND       NAME AND GENERIC           DRUGS




                um�  1,095      73        5,72;       17.40
                                                              I   1.05
                                                                         I       15.67
                                                                                         I   19.1:

                     1,49s      7$        3,04:       16.39       1.07           14.63       18.1!

                    8,194       73        7,19$       18.45       0.52           17.60       19.31

                    6J42        91        3,00s      18.71        0.90           17.22       20.1s

                    2,026       66        1,762      27.52        2.28           23.76       31.27

                    17,030     315       18,973      18.30        0.66           17.21       19.3E




                    1,095       73       2,963       47.51        1.63           44.82       50.20

                    1,499       78       1,798       47.38        0.93           45.85       48.92

                    8,194       72       2,634       37.61        2.82           32.97       42.26

                    6242        91       1,680       46.72        2.44       .   42.70       50.73

                    2,026       59       1S62        57.70        1.98           54.43       60.96

                   17.030      314       9,075       42.45        0.90           40.97       43.93
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                                                                Page 18 of 19 4
                                                                                                     Page 1 of 2




                                                           MISSOURI
                                          DEPARTMENT           OF SOCIAL          SERVICES                          RELAYMISSOURI
MEL CARNAHAN                                               P.O.   BOX    1527                             for   hearing   and speech   impaired
   GOVERNOR                                     BROADWAY STATEOFFICE BUILDING                                       TEXT TELEPHONE
                                                       JEFFERSONCITY                                                 1-800 -73 S-2966
GARY J. STANGLER                                         65102-1527
                                                                                                                           VOICE
    DIRECTOR
                                             TELEPHONE: 573-751-4815,      FAX 573-751-3203                           1-800-735-2466




                                                     Wtobe?:            22,     1996
                                                           .
     Ms. June Gibbs Brown
     Inspector   General
     Department   of Health    and Human Services
     Cohen Building
     330 Independence    Avenue,   S.W.
     Washington,    D.C. 20201

     RE:       Review   of    Pharmacy      Acquisition                 Costs      (Draft)    A-06-95-OO067

     Dear      Ms.   Brown:

              The purpose   of this     letter     is to provide     comments on the draft
     report     on the results     of the above referenced           OIG review  of pharmacy
     acquisition      costs   for drugs      reimbursed   under    the Missouri   Medicaid
     pharmacy     program.      I apologize      for our oversight      in not responding
     earlier.

               The Department         of Social       Services        (DSS),   through     the University          of
      Missouri      Kansas City - School              of Pharmacy,         conducted      a similar       Studyt
      along with a cost            to dispense        study,      in 1990-91.        A copy of that
      report      is enclosed        for your review.             The results       of this      study were
      similar,      but indicated          a wider      range     of discount       rates    experienced        by
      Missouri      pharmacies.          The revision          of Missouri.      Medicaid      reimbursement
      methodology        for pharmacy         services,        effective      Sep@mb=        17,    1991,    was
      based     upon the results           of this      study.        Reimbursement       has remained        at
      the revised        level,      AWP less      10.43% plus the standard               professional        fee
      of $4.09,       since     that    date.

              It was recognized           in the 1990-91      study,     as in your report,            that
      ingredient       cost    is only one component          to be considered          in determining
      an appropriate         pharmacy       reimbursement     level.     Please    note,    that     in
      September,       1991, the ingredient           cost   portion     of the methodology            was
      reduced      to the amount reflected             in the study;      the standard
      professional        dispensing        fee was not raised        to the recommended           rate     of
      $6.56     for independent         pharmacies       and $6.20    for chain     pharmacies.          The
      current      standard      dispensing      fee of $4.09      remains     below the established
      cost    to dispense,         as identified       in the 1990-91       study    ($5.69    for
      independent        and $5.45       for chain    pharmacies).




                                    .“ANEQUALOPPORTUNITY/AFFIRMATIVE           ACTION EMPLOYER””
                                             services provided on a nondiscriminatory basis
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                      One    of    the   goals     of   DSS     is     to    optimize            the        access           to    and     the
            quality       of   health       care     services          to    the     department’s                    clients,             partners
            and     stakeholders.           Toward    that           end,    we      must        identify             and         take     into
            consideration           as    many essential              variables             as     possible            in         order      to
            develop         reimbursement          policies          that      are    aclequate              for      providers              and
            fair    to      Missouri      taxpayers.            Your        report      wilL           be    of      great         assistance
            in   that       endeavor.


                   I would     like to take this       opportunity                           to express     my appreciation
            that   input    from the states      involved     in this                          review,   including
            Missouri.,    was requested     prior    to conducting                             the review.      This team
            approach     benefits   both of our organizations.

                 Please            feel    free to contact.Donna                     Checkett,               Director,              Division
            of Medical            Services     at 573-751–6922                 if    you have               any further              questions
            with regard            to this     matter.




                                                        Director                        /

            GJS:SS

            enclosure
